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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

                                             )
IN RE: AQUEOUS FILM-FORMING                  )   MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                     )
LITIGATION                                   )   CASE MANAGEMENT ORDER NO. 26A
                                             )
                                             )   This Order Relates to All Actions
                                             )

               AMENDMENTS TO SECOND BELLWETHER PROGRAM:
                     INITIAL PERSONAL INJURY CLAIMS

       This CMO 26A amends the schedule set forth in CMO 26 with respect to the selection of

the Initial Personal Injury Bellwether Discovery Pool Plaintiffs. Specifically, the following

provisions of CMO 26 are hereby superseded as follows:

       B.     Selection of Initial Personal Injury Bellwether Discovery Pool Plaintiffs

              1.      The Parties shall propose Initial Personal Injury Bellwether Discovery Pool

       Plaintiffs in accordance with the provisions of CMO 26 as amended by this CMO 26A.The

       Parties shall confer on the selection of the Initial Personal Injury Bellwether Discovery

       Pool Plaintiffs prior to November 14, 2023. By November 14, 2023, the parties shall

       exchange lists of those Plaintiffs who will be jointly proposed to be included in the Initial

       Personal Injury Bellwether Discovery Pool Plaintiffs by agreement of the Parties. For the

       avoidance of doubt, selection shall be of individual plaintiffs and not entire cases where

       plaintiffs may have been part of multiple-plaintiff complaints. (However, an individual

       plaintiff named in a multi-plaintiff complaint can be selected). All claims brought by the

       selected individual plaintiff, including any dependent or derivative claims (e.g., loss of

       consortium), shall be litigated in this process, including, for example, claims for property

       damage or diminution in value.

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               3. In the event the Parties cannot agree on the plaintiffs to be selected in one or

       more disease categories—and the Parties are strongly encouraged to agree and to make

       their best efforts to select representative cases in each category—by November 17, 2023,

       the Parties shall exchange a list of proposed plaintiffs to fill the remaining slots.

               4.      Should any plaintiff voluntarily dismiss his or her action following selection

       as an Initial Personal Injury Bellwether Discovery Pool Plaintiff, such dismissal shall be

       with prejudice, absent agreement of the Parties or some special circumstances that may be

       presented to the Court if the Parties cannot agree. Further, should any Initial Personal

       Injury Bellwether Discovery Pool Plaintiff dismiss his/her case for any reason prior to

       January 26, 2024, Defendants may (but are not required to) select a replacement plaintiff

       (“Replacement Plaintiff”) for each dismissed Initial Personal Injury Bellwether Discovery

       Pool Plaintiff by no later than February 9, 2024.

               6.      By no later than December 1, 2023, the Parties shall jointly submit to the

       Court a list with each selected or proposed case, including the following information: (1)

       Plaintiff’s counsel information, (2) list of all defendants in the case (and counsel

       information), (3) a certification that all parties have waived Lexecon rights, 2 (4) a brief

       summary of the alleged injury(ies) and site(s) from which exposure occurred, (5) ECF

       references to the proposed Bellwether Plaintiff’s operative Complaint and relevant

       Defendants’ statements of affirmative defenses, and (6) if a plaintiff is not agreed, a brief

       explanation for why the proponent contends that plaintiff is representative and why the

       opponent contends that plaintiff is not representative. The Court shall select the 28 Initial




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  For the avoidance of doubt, if a party waives Lexecon as to a specific case in the Initial Personal
Injury Discovery Bellwether Pool, such waiver will not apply to any other case in the MDL.
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      Personal Injury Bellwether Discovery Pool Plaintiffs from this submission, and these

      Plaintiffs shall be subject to the provisions of Paragraphs B.4–5 above.

      C.     Further Proceedings With Regard to Personal Injury Cases

             1.      The Parties shall meet and confer regarding Tier 1 Discovery and will

      submit either an agreed Tier 1 Discovery CMO or a proposed Tier 1 Discovery CMO with

      identified disputes to the Court on or before December 1, 2023.



IT IS SO ORDERED.


Dated: October 2, 2023                                     s/Richard Mark Gergel
      Charleston, South Carolina                           Hon. Richard M. Gergel
                                                           United States District Judge




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